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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


    UNITED STATES OF AMERICA,

             Plaintiff,

    v.                                                    Case No. 8:96-cr-82-T-23EAJ

    JOHN O’ROURKE,

             Defendant.
                                        /


                                              ORDER


             THIS MATTER was before the court on an Initial Appearance for violation of

    supervised release. The Defendant waived his preliminary revocation hearing.

             Upon the basis of the affidavits contained in the court file and defendant’s waiver of

    hearing, the court finds probable cause to hold the Defendant for further proceedings before

    the United States District Judge, and it is so ORDERED.

             It is FURTHER ORDERED that the Clerk of the Court shall schedule the final

    revocation hearing before the Honorable Steven D. Merryday.

             It is FURTHER ORDERED that the Defendant is ordered DETAINED pending

    further proceedings.
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             It is FURTHER ORDERED that the Government shall produce for inspection and

    copying any appropriate discovery which the Government intends to use at the final

    revocation hearing at least three (3) days prior to the final hearing.

             Done and Ordered in Tampa, Florida this 3rd day of June 2005.




    Copies furnished to:
    Steven D. Merryday, U.S. District Judge
    District Judge Courtroom Deputy
    Kelley Howard, Assistant United States Attorney
    Alec Hall, Attorney for Defendant
    U.S. Probation
    U.S. Marshal




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